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                             IN THE UNITED STATES DISTRICT
                           COURT FOR THE NORTHERN DISTRICT
                                OF OHIO EASTERN DIVISION



         IN RE: NATIONAL PRESCRIPTION                                MDL NO. 2804
               OPIATE LITIGATION
                                                              Civ. No. 1:17-md-02804-DAP
           THIS DOCUMENT RELATES TO:                        HON. JUDGE DAN A. POLSTER
                 Track One-B Cases1



        TRACK 1B RETAIL PHARMACY DEFENDANTS’ OBJECTION TO DISCOVERY
           RULING REGARDING PHARMACY DATA PRODUCTION (DKT. 3106)

           The Track 1B Retail Pharmacy Defendants (“Pharmacy Defendants”)2 object to certain

aspects of the Special Master’s Discovery Ruling Regarding Pharmacy Data Production, issued

on January 27, 2020 (the “Ruling”) (Dkt. No. 3106).3 Special Master Cohen’s Ruling requires

the Pharmacy Defendants to produce data not only for the relevant opioids but also for additional

non-opioid products in connection with an expansive definition of “cocktails” related to



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     The Track One-B Cases are: County of Summit, Ohio, et al. v. Purdue Pharma L.P., et al.,
    Case No. 18-op-45090 (N.D. Ohio); and The County of Cuyahoga, Ohio, et al. v. Purdue
    Pharma L.P., et al., Case No. 17-op-45004 (N.D. Ohio).
2
  CVS Pharmacy, Inc. and Ohio CVS, L.L.C. (“CVS”), Rite Aid of Maryland, Inc. d/b/a Mid-
Atlantic Customer Support Center, Rite Aid of Ohio, Inc. and Rite Aid Hdqtrs. Corp. (“Rite
Aid”), Walgreen Co. and Walgreen Eastern Co. (“Walgreens”), HBC Service Company, an
unincorporated operating division of Giant Eagle, Inc. (“Giant Eagle”), Discount Drug Mart Inc.
(“DDM”), and Walmart Inc. (“Walmart”).
3
  The Pharmacy Defendants preserve all objections previously asserted and now pending before
the Sixth Circuit Court of Appeals, including but not limited to the amended claims asserted in
Track 1B, scope of discovery ordered in connection with the Track 1B cases, and production of
private patient prescription information. See Writ of Mandamus, In re CVS, 20-3075 (6th Cir.
Jan. 17, 2020). Further, it is the Pharmacy Defendants’ position that Plaintiffs never should have
been permitted to amend to add dispensing claims. See id.
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Plaintiffs’ combination-prescription “red flag” theory. The Ruling also sets forth an untenable

timeframe for production of (a) the ordered dispensing data (by March 2) and (b) “any additional

data fields which [Pharmacy Defendants] or their experts intend to rely on in defending against

Plaintiffs’ claims” after Plaintiffs have identified “the prescriptions they (and their experts)

conclude should have been ‘Red Flagged’ as suspicious, and investigated or not filled” (14 days).

Finally, the Ruling requires the production of additional sensitive patient identifying information

in the form of patient’s year of birth (“Birth Year”) or age, which, when considered against the

totality of the other information that the Pharmacy Defendants were ordered to produce

(including, among other things, Zip Code, Diagnostic Code, and Physician Specialty), further

increases the risk that the identity of individual patients could be revealed.

       To cure these errors concerning the scope, type, and timetable for the Pharmacy

Defendants’ production of dispensing data, the Pharmacy Defendants respectfully request that

the Court modify the Ruling as follows: (a) additional non-opioid drugs to be included in the

dispensing data to be produced should be limited as set forth below; (b) Birth Year shall be

removed from the data set ordered for production; and (c) the deadlines for production of

dispensing data should be extended as follows: (i) if the additional non-opioid drugs are not

limited as the Pharmacy Defendants propose, then the March 2 deadline shall be stricken and re-

evaluated after the Pharmacy Defendants have had sufficient time to determine how long it will

take to implement the Special Master’s ruling; and (ii) the 14-day deadline for the Pharmacy

Defendants to identify additional data fields after receipt of Plaintiffs’ red flag analysis and

identified prescriptions shall be stricken and re-evaluated based on the nature and volume of

prescriptions and analyses identified by Plaintiffs.




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I.     INTRODUCTION AND BACKGROUND

       At issue here is the type and scope of dispensing data that the Pharmacy Defendants will

be required to produce in connection with the Track 1B cases. Plaintiffs argue they will use the

dispensing data in part to identify specific prescriptions containing purported “red flags” that

Plaintiffs claim the Pharmacy Defendants should have further investigated prior to filling

(Plaintiffs’ “Red Flag Prescriptions”).

       Plaintiffs’ requests for dispensing data have expanded and changed during the course of

Track 1B discovery. Plaintiffs initially requested Pharmacy Defendants’ dispensing data for

approximately 20 data fields and specified that each “[p]atient’s name and address shall be de-

identified.” Ex. A, Track 1B Combined Discovery Requests at n.2. Setting aside the Pharmacy

Defendants’ overarching objection to producing dispensing data, the Pharmacy Defendants were

willing, subject to appropriate safeguards, to produce these fields for three years for the two

Plaintiff counties, to the extent available. Within weeks of the initial Case Management

Conference for Track 1B on December 4, 2019, each Defendant participated in a meet-and-

confer with Plaintiffs and Special Master Cohen to finalize the fields and production logistics,

including production timelines. The Pharmacy Defendants believed they could produce the 20

data fields that Plaintiffs were requesting as of that point for Cuyahoga and Summit Counties

within six weeks of the date Plaintiffs confirmed that the list of fields was complete. See Dkt.

No. 3029, Pharmacy Defendants’ Motion for Reconsideration of the Court’s Order Regarding

Scope of Track One-B and Supporting Memorandum, dated January 28, 2020, at 14.

       After that progress, however, Plaintiffs changed course and significantly expanded the

scope of dispensing discovery that they requested. On January 3, 2020, Plaintiffs sent the

Pharmacy Defendants a request for approximately 160 data fields, requiring additional review

and consideration by the Pharmacy Defendants and conferences with the parties and Special
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Master to evaluate positions and attempt compromise. Ex. B, excerpt of Plaintiffs’ January 3,

2020 data field request listing the 160 fields requested). During an in-person conference with the

Special Master on January 22, 2020, Plaintiffs changed course again, dropping the vast majority

of the 160 data fields they had most recently requested, but insisting on the production of 34 data

fields.

          At the January 22 conference, the parties ultimately reached agreement on certain

dispensing data fields that the Pharmacy Defendants would be willing to produce,4 and the

Special Master ordered that other fields be produced over the Pharmacy Defendants’

Objections.5 The parties also agreed upon a phased discovery approach whereby the Pharmacy

Defendants could identify additional data fields they might rely on after Plaintiffs had identified

the specific prescriptions that they allege contained “red flags” and should not have been filled

absent further investigation. The specific time frame in which the Pharmacy Defendants would

have to produce that additional data was not discussed, although the Pharmacy Defendants made

clear that their previous estimates of being able to produce the requested data in six weeks was in

jeopardy in light of the expanded scope of data fields that they were being ordered to produce.

          On January 23, 2020, the parties held yet another discovery conference with the Special

Master to discuss Plaintiffs’ request that, in addition to producing dispensing data for opioids, the

Pharmacy Defendants produce dispensing data for numerous other drugs that Plaintiffs claim

present a “red flag” when prescribed in combination with an opioid (so-called “cocktail”



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  The Pharmacy Defendants had expressed a willingness, pending the outcome of the decision of
the Sixth Circuit, to proceed with the collection and production of these 34 fields of data for
Summit County and Cuyahoga County stores for the relevant opioids, going back 3 years.
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 Specifically, the data fields that the Pharmacy Defendants were ordered to produce over their
objection were: Dispensing Pharmacist, Patient Age, Rejection Indicator, Patient DOB, and
DEA Override.

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prescriptions). The Pharmacy Defendants objected to Plaintiffs’ expansive request and stated

that if Plaintiffs are permitted to seek such discovery it should be limited to the so-called

“Trinity” or “Holy Trinity” combination consisting of (1) alprazolam (anti-anxiety medication);

(2) carisoprodol (muscle relaxant); and (3) either hydrocodone or oxycodone, all filled for the

same patient on the same day, at the same pharmacy and prescribed by the same prescriber. See

Ex. C, Retail Pharmacy Defendants’ Submission re “Trinity” Cocktails, dated January 27, 2020,

at 2-4.6 The Pharmacy Defendants further maintained that this additional data be limited to those

prescriptions filled 2013 and later, a few months after 2012 DEA industry guidance identified

such a combination as a potential “red flag” and more than two years before the Ohio Board of

Pharmacy in 2015 issued similar guidance. See id. at n.3.

         All of these discovery conferences culminated in the Special Master issuing his Ruling

Regarding Pharmacy Data Production (Dkt. No. 3106), which directs the Pharmacy Defendants

as follows:

                 Dispensing data relating to the 34 fields must be produced by the Pharmacy

                  Defendants by March 2, 2020.

                 Any additional data fields that the Pharmacy Defendants intend to use to defend

                  against Plaintiffs’ claims must be produced by the Pharmacy Defendants within

                  fourteen days of Plaintiffs’ identification of the Red Flag Prescriptions.

                 Data for 14 benzodiazepines and 4 muscle relaxants that Plaintiffs identified as

                  non-opioids relevant to their analysis of potential “red flag” combinations must be




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  Exhibits to the January 27, 2020 Pharmacy Defendants’ submission are omitted here due to
size.

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                produced by the Pharmacy Defendants, to the extent prescriptions for those drugs

                were filled within 14 days (either before or after) any opioid.

         There is no basis for the timing and substance of these broad rulings. Far outside the

confines of the Federal Rules, the Ruling serves only to further Plaintiffs’ quest to fish through

the Pharmacy Defendants’ dispensing data without connection to Plaintiffs’ Track 1B claims.

Indeed, the addition of eighteen non-opioids, which, according to Plaintiffs, translates to

thousands of additional individual drug products (“NDCs”)7 that may have to be searched,

presents not only an additional burden on the Pharmacy Defendants but an additional intrusion

into patient privacy. And the timetable set forth in the Ruling is simply untenable. The

Pharmacy Defendants therefore request that the Ruling be reversed and amended as explained

below.

II.      ARGUMENT

         Federal Rule of Civil Procedure 26 requires the Special Master not only to limit

discovery to what is relevant, but also to consider whether the discovery sought is proportional to

the needs of the case. See, e.g., In re Ohio Execution Protocol Litigation, 845 F.3d 231, 236

(2016) (“[A] plaintiff [cannot] be permitted to go fishing and a trial court retains discretion to

determine that a discovery request is too broad and oppressive.”). By ordering discovery that is

overbroad, unduly burdensome, and neither relevant nor proportional to Plaintiffs’ claims in the




7
  On February 1, 2020, Plaintiffs provided a list of over 15,000 NDCs and 4,000 NDCs,
respectively, for the 14 benzodiazepines and 4 muscle relaxants for which they request additional
dispensing data, and which we are not attaching here due to its size. The Pharmacy Defendants
are still investigating which NDCs may be implicated for the 18 new drugs for which they were
ordered to produce dispensing data.

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Track 1B litigation, and on an impractical, unduly burdensome timeline, the Special Master

abused his discretion in entering the Ruling.8

         A.     The Expansive Definition Of “Cocktail” Prescriptions Is Unsupported,
                Overly Burdensome, Not Proportional To The Needs Of The Case, And
                Untenable In Light Of The March 2 Production Deadline.

         The Ruling largely adopts Plaintiffs’ position and orders the Pharmacy Defendants to

produce data for 18 non-opioid drugs (translating to thousands of additional NDCs, according to

Plaintiffs ) so that Plaintiffs can attempt to identify purported “red flag” “cocktail” combinations

in prescriptions that Pharmacy Defendants’ pharmacists filled. That ruling goes against the

typical guidance concerning opioid “cocktails,” as well as the discovery rules, and thus must be

reversed.

                1.      An opioid “cocktail” has been defined by DEA as a three-drug
                        combination of oxycodone or hydrocodone + alprazolam +
                        carisoprodol.

         Plaintiffs claim certain drug combinations, or “cocktails,” should have constituted “red

flags” to the Track 1B Defendants’ pharmacists, who should have further investigated the

prescriptions and, possibly, refused to fill them. Plaintiffs argued such a “cocktail” consists of


8
  The Ruling is styled as one governing discovery only, and the Pharmacy Defendants
understand it as such. Plaintiffs, of course, bear the ultimate burden of proof on all of their
claims, including those related to dispensing. See, e.g., In re Nat’l Prescription Opiate Litig.,
No. 1:17-md-2804, 2019 WL 4194272, at *1-*2 (N.D. Ohio Sept. 4, 2019) (citing Cincinnati v.
Beretta U.S.A., 768 N.E.2d 1136, 1141-44 (Ohio 2002)); see also City of Cleveland v.
Ameriquest Mortg. Secs., Inc., 621 F. Supp. 2d 513, 528, 531 (N.D. Ohio 2009) (defendants
cannot be held liable in a public nuisance action challenging conduct that is subject to regulation
unless the plaintiff pleads and shows that defendants did not comply with the applicable
regulation), aff’d, 615 F.3d 496 (6th Cir. 2010); N.A.A.C.P. v. AcuSport, Inc., 271 F. Supp. 2d
435, 448 (E.D.N.Y. 2003) (plaintiff bears the burden of proof on public nuisance claim).
Pharmacy Defendants do not understand the production obligations identified on pages 6-7 of the
Ruling to shift the burden of proof in any respect. Any such burden-shifting would obviously be
improper and would deprive the Pharmacy Defendants of due process. See Addington v. Texas,
441 U.S. 418, 423 (1979); Voigt v. Chicago & N.W. Ry. Co., 380 F.2d 1000, 1004 (8th Cir. 1967)
(“It has long been generally recognized that it is reversible error to place the burden of proof on
the wrong party or to place an unwarranted burden of proof on one party.”).

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certain opioids or opioid treatments taken in combination with one or more benzodiazepine,

muscle relaxant, or sleep aid—regardless of whether prescriptions for those drugs were presented

at the same pharmacy, presented on the same day, or written by the same prescriber.

       Plaintiffs are wrong. The concept of “red flags” is not referenced in the Controlled

Substances Act (“CSA”) or its implementing regulations. Nor does the CSA or its regulations

define a “cocktail.” In the context of CSA enforcement, the DEA has used the concept of “red

flags” to describe circumstances about which a reasonable pharmacist—in keeping with his or

her “corresponding responsibility”—may want to be aware.

       Further, there is no blanket regulatory prohibition of any opioid combination. Opioid

combinations, including those implicated by the Ruling, can be common treatment for patients,

for example, in active cancer treatment, experiencing acute sickle cell crises, or experiencing

post-surgical pain. Ex. D, CDC Clarification of Opioid Guidelines; see also Ex. E, DEA Letter

to NACDS, dated November 4, 2019 (responding to inquiry for position on “Trinity”

prescriptions by advising that “[f]ederal regulations do not define the term legitimate medical

purpose nor do they set forth the standards of medical practice. It is up to each DEA-registered

practitioner to treat a patient according to his or her professional medical judgment . . . .”).

Beginning in approximately 2012, industry guidance from the DEA and Ohio Board of

Pharmacy has instructed that a very specific three-drug combination, commonly referred to as

the “Trinity” or “Holy Trinity,” is the “cocktail” most commonly abused: oxycodone or

hydrocodone + alprazolam + carisoprodol. See Ex. F, Aug. 3 & 4, 2013 DEA presentation on

DEA Perspective: Pharmaceutical Use & Abuse, during the Baton Rouge Pharmacy Diversion

Awareness Conference, at 18, 20; Ex. G, Aug. 24, 2015 DEA presentation on Current Trends in

DEA Compliance, to NACDS, at 3, 9; Ex. H, Mar. 19 & 20, 2016 DEA presentation on DEA



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Trends and Update, to Delaware Pharmacy Diversion Awareness Conference, at 33-35; Ex. I,

2017 DEA presentation on DEA Trends and Update, to San Juan, Puerto Rico Pharmacy

Diversion Awareness Conference, at 12, 17, 18; June 2015 Ohio Board of Pharmacy website

video at 5:55-6:20.9 Importantly, these agencies do not argue that such a “cocktail” is per se

invalid or can never be prescribed or dispensed. Additionally, several authorities that take a

broader position still define a “cocktail” as a three-drug combination of an opioid,

benzodiazepine, and muscle relaxant. See, e.g., Trinity Pharmacy II, 84 Fed. Reg. 7304 (2018);

see also Ruling at 3.

                  2.     The Ruling is overbroad and unduly burdensome because it requires
                         production of data for fourteen benzodiazepines and four muscle
                         relaxants, which are neither relevant nor proportional to Plaintiffs’
                         claims.

          Despite this context, the Ruling largely follows Plaintiffs’ position and requires the

Pharmacy Defendants to produce data for fourteen benzodiazepines and four muscle relaxants

(which, according to Plaintiffs, includes over 19,000 individual NDCs) that Plaintiffs argued

may constitute combination or “cocktail” prescriptions that should have been further

investigated.10 This is too broad. These drugs are not appropriate for an analysis of “red flag”

combinations—in fact, many are not even controlled substances (let alone Schedule II drugs).

          The Ruling’s broad definition of “cocktail” is also unnecessary. The Pharmacy

Defendants had agreed to provide Plaintiffs with additional data for two non-opioid products

(alprazolam and carisoprodol) in connection with DEA guidance pertaining to “Trinity”

combinations. The Special Master’s Ruling rejects the Pharmacy Defendants’ position and



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 The video can be found at https://www.pharmacy.ohio.gov/ or on the Ohio Board of Pharmacy
YouTube account at https://www.youtube.com/channel/UCidYeMX_wTBJsAVgafF076g.
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     The Ruling does not require production of data for the sleep aids that Plaintiffs requested.

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vastly expands the scope of discovery, associated burden on the Pharmacy Defendants, and

intrusion into patient privacy by requiring production of data for 18 additional non-opioid drugs,

which, according to Plaintiffs, translates to thousands of additional individual products, all to be

included in the upcoming March 2 production.11

          The Ruling does not, however, justify its breadth. At most, the Ruling reasons “it is

known that patients receiving any combination of these categories of drugs (including only just

two-drug combinations) are very often also drug-seeking.” Ruling at 4. But this is not true—

many patients that are prescribed opioids in combination with other drugs (particularly two-drug

combinations) need those drugs for legitimate treatment. Indeed, it is for this reason that the

DEA has declined to assert a blanket position that such combination prescriptions are improper,

instead deferring “to each DEA-registered practitioner to treat a patient according to his or her

professional medical judgment.” Ex. E, DEA Letter to NACDS, dated November 4, 2019.

Further, as DEA has advised, “DEA regulations do not impose a specific quantitative minimum

or maximum limit on the amount of medication that may be prescribed on a single prescription,

or the duration of treatment intended with the prescribed controlled substance.” Id.

          Nor does the Ruling provide support for the breadth of the non-opioid drugs it orders

produced, since it relies heavily on authorities holding that the most commonly abused

combination is the “Trinity” or “Holy Trinity.” In fact, the Ruling does not cite any specific

authorities to support that Pharmacy Defendants should produce data for all of the possible

combinations of only two drugs provided in the Ruling. In contrast, the Pharmacy Defendants

have shown that limiting an analysis of potential “red flag” combinations to three-drug “Trinity”




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     See Dkt. No. 3029 & supporting affidavits.

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combinations aligns with recent guidance from relevant agencies. Ex. C, Retail Pharmacy

Defendants’ Submission re “Trinity” Cocktails, dated January 27, 2020.

       Any potential relevance that the additional non-opioid data may have must be balanced

with the significant discovery burden required for producing it. This burden has since been

underscored by Plaintiffs’ identification of over 19,000 separate medications identified by

individual NDC codes for the newly-added non-opioid drugs that Plaintiffs argue are implicated

by the Ruling and must be included in the Pharmacy Defendants’ productions of dispensing

data.12 The data corresponding to those NDC codes is far too voluminous to be necessary for the

“red flag” analysis for which Plaintiffs claim they need the data.13 Production of this data not

only requires significant Pharmacy Defendant resources, but it also implicates private patient

information for a massive volume of prescriptions that have nothing to do with opioids. See

Ruling at 4 (“Defendants also note correctly that every addition to their data production increases

their discovery cost and to some extent the invasion of their customers’ privacy.”).

               3.      The 28-day rolling time window for purported “cocktail”
                       combinations is unsupported and overly burdensome; the alternative
                       option of producing all prescription data for all listed benzodiazepines
                       and muscle relaxants is an intrusion on patient privacy.

       The Ruling leaves the Pharmacy Defendants in an untenable situation (see Ruling at n.8):

               In other words, each Defendant has two choices. First, it may
               simply produce data for all of its prescriptions for the listed
               benzodiazepines and muscle relaxers, and let Plaintiffs figure out
               which were given to patients who also received recent
               prescriptions for opioids. Second, a Defendant may instead filter
               its data and produce only its prescriptions for the listed
               benzodiazepines and muscle relaxers that it dispensed to a patient
               who also received from it a prescription for opioids within a 14-

12
   Plaintiffs provided the NDC codes by email dated February 1, 2020. We are not including that
list as an exhibit hereto due to its significant volume.
13
  This is true even if all of the improperly added non-Schedule II opioids are removed from
Plaintiffs’ list of NDCs.

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                 day plus-or-minus window. This gives each Pharmacy Defendant
                 options to tailor, in part, its own discovery burden. That said, the
                 deadlines discussed below may limit a Defendant’s choice, if
                 applying the data filter causes data production to take longer.
                 The Special Master adds that giving Defendants the option of a
                 more complicated filter, such as producing non-opioid
                 prescriptions only when the patient received both a benzodiazepine
                 and a muscle relaxer within a 14-day plus-or-minus window of an
                 opioid prescription, is not warranted and possibly unworkable.
                 Last, as stated earlier, all prescription data shall date back to 2006.
                 See Dkt. No. 3055.

          The Ruling’s option to limit production of data for the benzodiazepines or muscle

relaxants to the 14-day period before or after a prescription for an opioid was dispensed (or a 28-

day window) only creates an additional burden—not to mention that it is overbroad and

impractical. The option poses a logistical nightmare, requiring complex algorithms to

implement, all of which is exacerbated by the March 2 production deadline. The alternative

option of producing all prescription data for patients prescribed only a muscle relaxant or only an

anti-anxiety medication at any time after 2006—by definition sweeping into this opioid litigation

the private patient information of individuals who have never been prescribed an opioid—is no

better.

          The 14-day window before and after an opioid is dispensed (28 days) is both overly

broad and without justification. That period is far too extensive to target the “red flags”

Plaintiffs say they seek for their claims. It is also impractical, as it suggests pharmacists might

be expected to identify purported “red flag” prescriptions presented up to 28 days apart. In

practice, unless the combination is presented to the pharmacist at the same time, it might not be

apparent to the pharmacist that there might be a red flag to resolve. The Pharmacy Defendants

submit they should be able to limit their production of “cocktail” data to combination

prescriptions presented to the same pharmacy on the same day.



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       Accordingly, the Pharmacy Defendants respectfully request that the Court modify the

Ruling to require Pharmacy Defendants to produce data for only the drugs commonly identified

as a “Trinity” that were prescribed on the same day to the same patient and filled at the same

pharmacy.

       B.      The Ruling Is Unfair And Unduly Burdensome Because It Limits The Time
               Available For Pharmacy Defendants To Defend The Purported Red Flag
               Prescriptions Identified By Plaintiffs To 14 Days.

       The Ruling states that, “no later than 14 days from the date of Plaintiffs’ ‘Red Flag’

identification, Defendants shall produce, for all earlier-supplied prescriptions, any additional data

fields upon which they or their experts intend to rely in defending against Plaintiffs’ claims.”

Ruling at 7. This period is too short. Depending on the volume of purported Red Flag

Prescriptions that Plaintiffs identify (which based on Plaintiffs’ past analyses will likely be

voluminous), the time period will likely be impossible for Pharmacy Defendants to meet. Before

even assessing what additional data fields they may need to produce, the Pharmacy Defendants

will have to analyze the prescriptions identified by Plaintiffs and try to understand Plaintiffs’

methodology. Only after that is accomplished, can the Pharmacy Defendants determine what

additional data fields they need and begin the process for extracting that data. And depending on

the type of data that needs to be extracted, that process could be quite complicated, which is what

prompted the parties to agree to a phased-discovery approach with the production of data in the

first place. Accordingly, the Pharmacy Defendants respectfully request that the Court amend the

Ruling to remove the 14-day deadline and allow for considered evaluation of the appropriate

timetable following Plaintiffs’ identification of Red Flag Prescriptions and related analyses, and

the volume of prescriptions identified.




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       C.      The Ruling Further Puts Patient Privacy At Risk By Requiring The
               Production Of Patient Birth Year Or Age.

       As the Pharmacy Defendants have previously explained, certain required data constitutes

an unwarranted invasion into patient privacy. See Writ of Mandamus, In re CVS, 20-3075 (6th

Cir. Jan. 17, 2020) at 26-27; see also Dkt. No. 3029, Pharmacy Defendants’ Motion for

Reconsideration of the Court’s Order Regarding Scope of Track One-B and Supporting

Memorandum, at 12-13. The Ruling overrules Pharmacy Defendants’ objections that the

production of a patient’s Birth Year (or Age) constitutes an improper privacy invasion and

further increases the risk that particular patients could be identified based on the totality of the

information being produced. As previously explained, and acknowledged by Special Master

Cohen in the Ruling, the more data that is produced about a particular patient, the greater the

invasion of privacy, and the greater the risk that a patient’s identify will be exposed. See, e.g,

Dkt. No. 3029 at 12-13; Reply in Support of Petitioners’ Emergency Motion to Stay Certain

Discovery at 9, In re CVS, 20-3075 (6th Cir. Jan. 31, 2020); Ruling at 4. In the interests of

judicial economy, rather than repeating arguments here that have been amply set forth in prior

filings, the Pharmacy Defendants incorporate them by reference and object to the production of

the additional data fields on privacy grounds. 14

III.   CONCLUSION

       Special Master Cohen’s Ruling would require the Pharmacy Defendants to produce

expansive dispensing data with strict time constraints, without any justification for either. As it


14
  The Pharmacy Defendants had objected to providing patient name, address, and other private
patient information but had agreed that each Pharmacy Defendant would provide a unique
identifier linked to each Patient ID number to protect patient privacy. To the extent that the
“new, unique identifying number” referenced in the Ruling is consistent with this agreement, the
Pharmacy Defendants do not object to each Pharmacy Defendant providing such an identifier in
their data. To the extent that this issue requires further clarification, the Pharmacy Defendants
request an opportunity to brief and be heard on the issue.

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is unduly burdensome, overly broad, and not proportional to the Track 1B claims, the Ruling

Regarding Pharmacy Data Production should be modified as discussed herein.




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Dated: February 3, 2020            Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that the foregoing document was served via the Court’s

ECF system to all counsel of record on February 3, 2020.



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